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COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




ADAM QUANAH LAY,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-02-00045-CR


Appeal from the


296th District Court


of Collin County, Texas


(TC# 296-80455-98)


MEMORANDUM OPINION



	Appellant waived trial by jury and entered a plea of guilty before the court to the
offense of aggravated robbery.  He was convicted, and the court assessed punishment at ten
(10) years' deferred adjudication probation.  On October 19, 2000, the State filed a motion
to enter a final adjudication of guilt.  Following a hearing and upon Appellant's plea of true,
the court adjudicated Appellant's guilt and sentenced him to thirty-five (35) years'
imprisonment.  We affirm.

	Appellant's court-appointed counsel has filed a brief in which she has concluded that
the appeal is wholly frivolous and without merit.  The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87
S.Ct. 2094, 18 L.Ed.2d 1377 (1967), by advancing contentions which counsel says might
arguably support the appeal.  See High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978);
Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553
(Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  A copy
of counsel's brief has been delivered to Appellant, and Appellant has been advised of his
right to examine the appellate record and file a pro se brief.  No pro se brief has been filed.

	We have carefully reviewed the record and counsel's brief and agree that the appeal
is wholly frivolous and without merit.  Further, we find nothing in the record that might
arguably support the appeal.  A discussion of the contentions advanced in counsel's brief
would add nothing to the jurisprudence of the state.

	The judgment is affirmed.

July 8, 2003

						_______________________________________

						RICHARD BARAJAS, Chief Justice



Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


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